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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION
                                                  :
Carissa Grubel,                                   :
                                                  :
                       Plaintiff,                 :
       v.                                         :
                                                    Civil Action No.: 6:14-cv-04466-GRA
                                                  :
PMAB, LLC; and DOES 1-10, inclusive,              :
                                                  :
                       Defendants.                :
                                                  :
                                                  :

                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Carissa Grubel, and Defendant
PMAB, LLC (“PMAB”), hereby jointly stipulate to the dismissal of Plaintiff’s claims against
with each side to bear its own attorneys’ fees and costs.

Dated: May 27, 2015

Respectfully submitted,

 Carissa Grubel                                       PMAB, LLC




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2015, a true and correct copy of the foregoing was
served electronically by the U.S. District Court for the District of South Carolina Electronic
Document Filing System (ECF) and that the document is available on the ECF system.



                                              By     /s/ Brian J. Headley
                                                   Brian J. Headley, Esq.
